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                                                                                                   08/05/2016
                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

IN RE:                                                    §
                                                          §
AGAP LIFE OFFERINGS, LLC1,                                §         CASE NO. 16-40520-btr
                                                          §
          Debtors.                                        §         (Jointly Administered Under
                                                          §         Case No. 16-40520-btr)

                ORDER GRANTING DEBTOR’S APPLICATION FOR ORDER
                AUTHORIZING THE EMPLOYMENT OF BILL SHORT, CPA
                       AS CHIEF RESTRUCTURING OFFICER

          CAME ON FOR CONSIDERATION the Debtor’s Application for Order Authorizing the

Employment of Bill Short, CPA as Chief Restructuring Officer (the “Application”) filed by

AGAP Life Offerings, LLC, AGAP LS 309, LLC, AGAP LS 108, LLC, AGAP LS 109, LLC,

AGAP LS 209, LLC and AGAP LS 509, LLC (“Debtors”). The Court, having reviewed the

pleading and arguments of counsel, and for the reasons stated on the record, finds that the

Application should be granted as provided in this Order. It is accordingly,

          ORDERED, ADJUDGED, and DECREED that Bill Short, CPA is hereby approved as

Chief Restructuring Officer (the “CRO”) for the Debtors effective as of July 28, 2016; it is

further

          ORDERED that the CRO shall be an officer of the companies who has management

duties; it is further

          ORDERED that the Debtors are hereby authorized to pay the CRO’s invoices for

services rendered at an hourly rate of $175.00 plus reimbursement for all reasonable and




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 The jointly administered cases include AGAP Life Offerings, LLC, Case No. 16-40520-btr; AGAP LS 309, LLC, Case No. 16-
40521-btr; AGAP LS 108, LLC, Case No. 16-40529-btr; AGAP LS 109, LLC, Case No. 16-40530-btr; AGAP LS 209, LLC,
Case No. 16-40531-btr; and AGAP LS 509, LLC, Case No. 16-40532-btr.

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customary travel and expenses required to perform his services, including mileage at the IRS

published rate per mile; it is further

        ORDERED that no later than August 10, 2016, the CRO shall prepare a report setting

forth a detailed payment history of life insurance policy premiums during the bankruptcy

proceedings, including which policies have been paid, by whom they were paid and from what

sources of funds and accounts, and the status of the purported ownership of the life insurance

policies by the Debtor entities; it is further

        ORDERED that the CRO will investigate, if warranted, any irregularities that may come

to the attention of the CRO during the course of providing his services; it is further

        ORDERED that upon entry of this Order the Debtors are hereby authorized to pay to the

CRO a retainer in the amount of $5,000.00 which may be applied to his invoices for services

provided under his professional engagement agreement, which will mirror the duties as described

in the Application and this Order and as approved by this Court; it is further

        ORDERED that the CRO shall maintain detailed contemporaneous records of time and

any actual and necessary expenses incurred in rendering his services referenced in the

Application and herein.
                                                          Signed on 8/5/2016
SIGNED:
                                                                                         SR
                                               HONORABLE BRENDA T. RHOADES,
                                               UNITED STATES BANKRUPTCY JUDGE

Submitted by:
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